                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA


THOMAS M. JAMES,                                    )
                                                    )
                             Plaintiff,             )
       vs.                                          )       1:09-cv-1204-WTL-TAB
                                                    )
DR. ELI LORENZO, et al.,                            )
                                                    )
                             Defendants.            )



                                    ENTRY AND ORDER

       As a result of the screening required by 28 U.S.C. § 1915A(b), the legally insufficient
claims in the second amended complaint filed by James Thomas will be dismissed, while
other claims will proceed, all consistent with the following:

      1.    The claims which are legally insufficient are identified below and are
dismissed for the reason(s) noted:

       a.     Claims against GEO Group, Inc. (“GEO”), Correctional Medical Services
       (“CMS”), and Wishard Hospital are dismissed. The reason for this is that these
       defendants, whether private corporations (in the case of GEO and CMS) or a
       municipal entity (in the case of Wishard Hospital) are not vicariously liable under 42
       U.S.C.§ 1983 for the alleged misdeeds of their employees, but only if the injury
       alleged is the result of a policy or practice. Rodriguez v. Plymouth Ambulance Serv.,
       577 F.3d 816 (7th Cir. 2009). No ingredient of that nature is present in the sprawling
       second amended complaint.

       b. The claim against the State of Indiana is dismissed because of this
       defendant’s Eleventh Amendment immunity and because this defendant is not a
       “person” subject to suit pursuant to 42 U.S.C. § 1983. Billman v. Department of
       Corrections, 56 F.3d 785 (7th Cir. 1995) (Indiana is not subject to suit in federal
       court pursuant to 42 U.S.C. § 1983 because of both its Eleventh Amendment
       immunity and the fact that a state is not a "person" subject to suit under § 1983).

       c.     “Because vicarious liability is inapplicable to . . . § 1983 suits, a plaintiff must
       plead that each Government-official defendant, through the official's own individual
       actions, has violated the Constitution.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1948
       (2009); see also Burks v. Raemisch, 555 F.3d 592, 593-94 (7th Cir. 2009) (“Section
       1983 does not establish a system of vicarious responsibility. Liability depends on
       each defendant's knowledge and actions, not on the knowledge or actions of
       persons they supervise.”). Claims against Superintendent Jeffrey Wrigles are
        dismissed based on this principle because James does not allege facts that support
        a finding that the Superintendent personally participated in any constitutional
        violation.

        d.      Claims against “all others acting in concert,” “ABC-XYZ Corp.” and “all
        black and white entities A-Z” are dismissed because “it is pointless to include
        [an] anonymous defendant [ ] in federal court; this type of placeholder does not open
        the door to relation back under Fed.R.Civ.P. 15, nor can it otherwise help the
        plaintiff.” Wudtke v. Davel, 128 F.3d 1057, 1060 (7th Cir. 1997) (internal citations
        omitted).

       2.     No partial final judgment shall issue at this time as to the claims resolved in
this Entry. The action will proceed as to the claims not dismissed as legally insufficient
above.

       3,    The clerk is designated, pursuant to Fed. R. Civ. P. 4(c)(3), to issue and
serve process on defendants Dr. Eli Lorenzo, Officer Leflore, and Dr. Nicolas Villanustre1
in the manner specified by Fed. R. Civ. P. 4(d)(1). Process in this case shall consist of the
second amended complaint (dkt 24), this Entry, and applicable forms. Any steps James has
taken to independently serve process on defendants against whom claims have been
dismissed are necessarily of no effect.

        IT IS SO ORDERED.



Date: 07/30/2010
                                                        _______________________________
                                                        Hon. William T. Lawrence, Judge
                                                        United States District Court
                                                        Southern District of Indiana




        1
         The clerk is directed to update the docket to reflect that all other defendants have been
dismissed or were not named in the second amended complaint.
Distribution:

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